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   c12)   United States Patent                                                            (IO) Patent No.:                      US 8,722,037 B2
          Veenstra et al.                                                                 (45) Date of Patent:                            May 13, 2014

   (54)   X-RAY VISIBLE DRUG DELIVERY DEVICE                                          EP              0 631 794                6/1994
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   (75)   Inventors: Harm Veenstra, Oss (NL); Wouter De                               EP              0 824 900 Bl             4/2003
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                                                                                     (74) Attorney, Agent, or Firm - Janet E. Fair; Catherine D.
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                                                                                      (57)                          ABSTRACT
   DE                 35 13928 Al        10/1985                                      The subject invention provides an X-ray visible drug delivery
   DE               299 08 415 Ul         9/1999
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                                                                                      device for subdermal administration of a contraceptive or
   EP                0 303 306 Al         2/ 1989                A61K 9/70            hormone replacement therapy.
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        Figme3


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       Figure 7

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      Figure 12



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       Figure 13



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       X-RAY VISIBLE DRUG DELIVERY DEVICE                               hormone replacement therapy comprising one compartment
                                                                        consisting of (i) a thermoplastic polymer core loaded with (a)
                   FIELD OF THE INVENTION                               a contraceptively effective or therapeutically effective
                                                                        amount of desogestrel or 3-ketodesogestrel and (b) about
      The present invention relates to the field of contraception 5 4-30% by weight radio-opaque material and (ii) a non-medi-
  and hormone replacement therapy.
                                                                        cated thermoplastic polymer skin covering the core.
      The present invention relates to an X-ray visible drug deliv-
  ery device for subdermal (subcutaneous) administration of a              The subject invention further provides an X-ray visible
  contraceptive or hormone replacement therapy.                         drug delivery device for subdermal administration of a con-
      The device according to the invention is particularly in the      traceptive or hormone replacement therapy comprising one
                                                                     10
  form of an implant, and will hereinafter be referred to as an         compartment consisting of (i) a thermoplastic polymer core
  implant.                                                              loaded with a contraceptively effective or therapeutically
                                                                        effective amount of desogestrel or 3-ketodesogestrel and con-
              BACKGROUND OF THE INVENTION                               taining an inert metal wire and (ii) a non-medicated thermo-
                                                                     15
                                                                        plastic polymer skin covering the core.
      Implanon® is a contraceptive implant that is inserted in the
  human body for periods up to 3 years. Cases have been                                            FIGURES
  reported in which the implants could not easily be removed
  due to either incorrect insertions by physicians or due to
  non-insertion of the implant by physicians. Implanon can be              FIG. 1: X-ray photographs of implants a) without barium
  visualized in the body using ultrasonography and MRI tech- 20         sulphate  (BaSO4 )(i.e. identical to Implanon); b) with 20 wt%
  niques. Visualization by MRI is not always readily available,         BaSO4 in skin; and c) with 11.5 wt% BaSO4 in core.
  relatively complicated and expensive. Visualization by ultra-            FIG. 2: X-ray photographs of implants without barium
  sonography is also not always readily available and may be            sulphate (sample 8) and with 11.5 wt % BaSO4 in core
  difficult in the hands of inexperienced physicians especially         (sample 7) inserted in pig tissue.
  in the event the implant was inserted incorrectly.                 25    FIG. 3: Accelerated release profiles of implants with 0, 8,
      The implant should be removed (and replaced) after three          11.5 and 15 wt % barium sulphate in the core. (The implant
  years. Furthermore, women may want to remove the implant              with O wt% is identical to Implanon.)
  if they wish to become pregnant. Another reason for removal              FIG. 4: Real time release profiles up to 190 days of
  can be disease, such as cancer, especially breast cancer, ovary       implants with 0, 8, 11.5 and 15 wt% barium sulphate in the
  cancer or cancer of the uterus.                                    30 core. (The implant with O wt% is identical to Implanon).
      It would therefore be convenient to have an Implanon-like            FIG. 5: X-ray photographs ofimplants a) without BaSO4 or
  implant which will be X-ray visible. This in order to have            titanium wire (i.e. identical to Implanon); and b) with 0.5 mm
  additional methods to locate and identify the implant, either         titanium wire.
  to facilitate removal of the implant or to be able to reassure the       FIG. 6: X-ray photographs of implants without titanium
  patient that the implant has been inserted.                        35 wire (sample 3) and with a 0.5 mm titanium wire in the core
      Such a contemplated X-ray visible implant must be such            (sample 4) inserted in pig tissue.
  that the radio-opaque component does not (i) influence the               FIG. 7: Accelerated release profiles ofimplants with a 0.25
  hormone release profile of the implant and (ii) does not              mm titanium wire in the core, a 0.50 mm titanium wire in the
  migrate into the body through the open-ended implant.                 core and a reference implant (identical to Implanon) with no
      X-ray visible medical devices, such as stents, catheters, 40 titanium wire.
  intra-uterine devices such as MultiLoad®, biodegradable                  FIG. 8: Real time release profiles of implants with a 0.25
  implants and dental devices are known. An X-ray visible drug          mm titanium wire in the core, a 0.50 mm titanium wire in the
  delivery device known in the field of contraception is                core and a reference implant (identical to Implanon) with no
  described in GB 2168257 which shows an X-ray visible vagi-            titanium wire.
  nal ring comprising the progestogen levonorgestrel. 45                   FIG. 9: Back Scatter Electron (BSE) detector photograph
  GB2168257 does not relate to the influence of the radio-              (magnification 350x) of implant with 11.5 wt% barium sul-
  opaque component on the release rate oflevonorgestrel from            phate in the core
  the ring, nor does such a ring have open-ends.                           FIG. 10: BSE detector photograph (magnification 3500x)
      It is however crucial to ascertain that the hormone release       of leached implant with 11.5 wt % barium sulphate in the
  rate is not significantly affected by a radio-opaque component 50 core. The dark section on the left is the skin.
  present in the contraceptive device because that could possi-            FIG.11: X-ray photographs of implants a) without BaSO4
  bly result in pregnancy, the unwanted effect for a woman              (i.e. identical to Implanon, sample 1); b) with 11.5 wt %
  using contraception.                                                  BaSO4 in core (samples 2 and 3); c) with 4 wt% BaSO4 in
      Moreover, it is also crucial that a radio-opaque component        core; d) with 20 wt% BaSO4 in core; and e) with 30 wt%
  present in the contraceptive/HRT device does not migrate 55 BaSO4 in core.
  outside the (open-ended) implant into the body in undesired              FIG. 12: X-ray transmission of implants as function of
  amounts causing potential radio-opaque component related              content BaSOiwt (%)).
  adverse effects.                                                         FIG. 13: Accelerated release profiles of implants with 0, 4,
      Thus, the subject invention provides for a contraceptive          20 and 30 wt% barium sulphate in the core. (The implant with
  and/or HRT X-ray visible implant wherein the radio-opaque 60 0 wt% is identical to Implanon.)
  component does not negatively influence the release rate of              FIG. 14: Real time release profiles up to 76 days of
  hormones from the device and does not migrate into the body.          implants with 0, 4, 20 and 30 wt % barium sulphate in the
                                                                        core. (The implant with O wt% is identical to Implanon).
                 SUMMARY OF THE INVENTION                                  FIG. 15: Back Scatter Electron (BSE) detector photograph
                                                                     65 (magnification 350x) of implant with a) 4 wt% barium sul-
      The subject invention provides an X-ray visible drug deliv-       phate in the core; b) 20 wt% barium sulphate in the core; and
  ery device for subdermal administration of a contraceptive or         c) 30 wt % barium sulphate in the core.
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     FIG. 16: BSE detector photograph (magnification 3500x)           polymer component represents only about 36 wt % of the
  ofleached implant with a) 4 wt% barium sulphate in the core;        implant whereas the hormone component comprises about
  b) 20 wt% barium sulphate in the core; and c) 30 wt% barium         52.5 wt % of the implant. As a result of the encapsulation
  sulphate in the core. The dark section on the left is the skin.     within the polymer component, the radio-opaque component
                                                                      crystals could not migrate out of the implant through the open
        DETAILED DESCRIPTION OF INVENTION                             ends of the implant in undesired amounts. Had the radio-
                                                                      opaque component been present in the hormone crystals, it
     Implanon® is a subdermal contraceptive implant consist-          may have been able to migrate outside of the implant in case
  ing of a coaxial rod. The core of this rod contains a mixture of    where the hormone crystals are inter-connected.
  etonogestrel (3-keto desogestrel) and ethylene vinylacetate 10
  (EVA) copolymer, i.e. EVA 28 which has a vinylacetate con-              Thus, the subject invention provides an X-ray visible drug
  tent of about 28% (m/m). The skin layer also consists of EVA         delivery device for subdermal administration of a contracep-
  polymer, i.e. EVA 14, which has a vinyl acetate content of           tive or hormone replacement therapy comprising one com-
  about 14% (m/m). Each rod has a mass of 129 mg and con-              partment consisting of (i) a thermoplastic polymer core
  tains 68 mg etonogestrel. Implanon has a length of 40 mm and 15 loaded with (a) a contraceptively effective or therapeutically
  a diameter of 2 mm and has open ends.                                effective amount of desogestrel or 3-ketodesogestrel and (b)
     The implant may be placed within an applicator consisting         about 4-30% by weight radio-opaque material and (ii) a non-
  of a stainless steel needle, which is fitted to an acrylonitrile-    medicated thermoplastic polymer skin covering the core.
  butadiene-styrene polymer (ABS) applicator. The applicator
                                                                          In one specific embodiment, the X-ray visible drug deliv-
  is a syringe-like apparatus consisting of a body, plunger, 20
                                                                       ery device is an implant
  needle and polypropylene shield. The loaded applicator may
  be placed in a polyethylene terephthalate glycol (PETG) tray,           The radio-opaque element can be any such element known
  which may be subsequently sealed with lidding paper.                 in the art such as barium sulphate, titanium oxide, bismuth
     The object of the invention is to add a radio-opaque ele-         oxide, tantalum, tungsten, or platinum. In a specific embodi-
  ment to a contraceptive/HRT implant such as Implanon® 25 ment, the radio-opaque material is barium sulphate.
  providing the possibility to identify and locate it in the body         In one embodiment, the radio-opaque material is about
  by X-ray techniques while maintaining the hormone release            4-25% by weight. In another embodiment, the radio-opaque
  profile thereof and while ensuring that the radio-opaque com-
                                                                       material is about 6-20% by weight. In yet another embodi-
  ponent does not migrate outside of the implant in undesired
                                                                       ment, the radio-opaque material is about 4-15% by weight. In
  amounts into the body.                                            30
                                                                       a specific embodiment, the radio-opaque material is about
     One skilled in the art will appreciate that a hormone release
  profile of a batch of a drug delivery device is never exactly        8-15% by weight.
  identical to another batch of the same drug delivery device.            The thermoplastic polymer that can be used in practicing
  Therefore, according to the subject invention, when the hor-         the invention, may in principle be any thermoplastic polymer
  mone release profile of an X-ray visible implant of the inven- 35 or elastomer material suitable for pharmaceutical use, such as
  tion deviates less than about 15% from the hormone release           low density polyethylene, ethylene-vinylacetate copolymers
  profile of Implanon®, these hormone release profiles are             and styrene-butadiene-styrene copolymers. In a specific
  considered identical or equivalent. The deviation can be cal-        embodiment, ethylene-vinylacetate copolymer (poly-EVA)
  culated using a difference factor (F 1) to compare dissolution       is used due to its excellent mechanical and physical properties
  profiles. The difference factor (F 1) calculates the percentage 40 ( e.g. solubility of the steroids in the material). The poly-EVA
  difference between two curves at each time point                     material may be used for the core as well as the skin and can
                                                                       be any commercially available ethylene-vinylacetate copoly-
                                                                       mer, such as the products available under the trade names:
                                                                       Elvax, Evatane, Lupolen, Movriton, Ultrathene, Ateva and
                                                                    45
                                                                       Vestypar.
                                                                        The radio-opaque material in the core does not affect the
     Where R, is the reference assay at time point t, T, is the test release of the desogestrel or 3-ketodesogestrel from the
  assay at time point t and n is the number of pull points. Fl       device and does not migrate out of the implant.
  values up to 15 (0-15) provide assurance of the sameness or 50        The subject invention further provides an X-ray visible
  equivalence of the two curves. The reference curve is chosen       drug delivery device for subdermal administration of a con-
  such that other release controlling parameters, than the one       traceptive or hormone replacement therapy comprising one
  that is tested, are kept as constant as possible.                  compartment consisting of (i) a thermoplastic polymer core
     When incorporating a radio-opaque element in the skin           loaded with a contraceptively effective or therapeutically
  layer of the implant, X-ray visibility was hardly accom- 55 effective amount of desogestrel or 3-ketodesogestrel and con-
  plished. However, X-ray visibility was accomplished when           taining an inert metal wire and (ii) a non-medicated thermo-
  incorporating the radio-opaque element in the core of the          plastic polymer skin covering the core.
  implant. Despite the incorporation of the radio-opaque ele-           The radio-opaque element may be an inert titanium wire or
  ment in the core of the implant which also contains the active     other inert material such as certain grades of stainless steel or
  hormone material, the hormone release profile was not 60 gold alloys. In a specific embodiment, the inert metal wire is
  affected.                                                          a titanium wire.
     When evaluating where the radio-opaque component was
  located in the implant after production thereof, it was surpris-      The metal wire in the core does not affect the release of the
  ingly found that almost all of the radio-opaque component          desogestrel or 3-ketodesogestrel from the device.
  was encapsulated within the polymer component and hardly 65           The present invention is further described in the following
  any radio-opaque component was encapsulated in the hor-            examples which are not in any way intended to limit the scope
  mone crystals. This was unexpected in view of the fact that the    of the invention as claimed.
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                          EXAMPLES                                   sulphate was homogeneously dispersed in the EVA-14
                                                                     matrix. The strands were subsequently granulated to skin
                            Example 1                                granulate.
                                                                        The co-extrusion set-up consisted of a skin extruder that
         Preparation of Two-Layered Implant Containing               processed the skin granulate as delivered by the blend
                   Barium Sulphate in the Core                       extruder and a core extruder that processed the core granulate
                                                                     as delivered by the blend extruder. The melt flows were com-
     Preparation of two layered implant containing barium sul-       bined in a spinneret resulting in a skin-core fibre. The volume
  phate in the core consisted of two steps, i.e. manufacturing of    flow rate ofboth melt flows was controlled by a set of separate
  core granulate (pre-mixing and blend extrusion) containing a 10 spinning pumps. Ail extrusion temperature of 120° C. and an
  mixture of etonogestrel (3-keto desogestrel), barium sulphate      extrusion rate of 1 m/min was used. Extrusion lead to a
  and EVA-28 copolymer and manufacturing ofa co-axial fiber          co-axial fiber with a diameter of 2 mm and a skin thickness of
  consisting of the core and a skin layer ofEVA-14 copolymer.        60 µm. The fiber was cooled down to room temperature in a
                                                                     water bath, dried on air and wound on a reel. The coaxial fiber
     The core material was prepared by adding the desired
                                                                  15 was cut into 4.0 cm rods.
  amount (e.g. 52.5 wt% etonogestrel, 36 wt% EVA, 11.5 wt%
  Barium sulphate) of ingredients to a stainless steel drum after                              Example 3
  which the powder mixture was pre-mixed by rotating the
  drum on a rhiinrad, or equivalent, at 47 rpm. The powder                 Comparison of X-Ray Visibility Between Implant
  mixture was subsequently fed to a Berstorff ZE25 co-rotating 20          Containing Barium Sulphate in the Core, Implant
  twin screw extruder (or equivalent) and blend extruded at an           Containing Barium Sulphate in the Skin and Implant
  extrusion temperature of 125° C. Blend extrusion resulted in                   without Barium Sulphate (Implanon)
  strands in which etonogestrel (3-keto desogestrel) and barium
  sulphate were homogeneously dispersed in the EVA-28                   X-ray photographs were taken from implants and subse-
  matrix. The strands were subsequently granulated to core 25 quently the X-ray visibility between implants having barium
  granulate.                                                         sulphate in either core or skin versus x-ray visibility of
     The co-extrusion set-up consisted of a skin extruder that       implants without barium sulphate (Implanon) were com-
  processed the skin material and a core extruder that processed     pared. FIG. 1 demonstrates that incorporation of barium sul-
  the core material as delivered by the blend extruder. The melt     phate in the skin layer hardly improved the x-ray visibility
  flows were combined in a spinneret resulting in a skin-core 30 when compared to implants without barium sulphate. How-
  fibre. The volume flow rate of both melt flows was controlled      ever, incorporation of barium sulphate into the core greatly
  by a set of separate spinning pumps. An extrusion tempera-         improved the X-ray visibility of the implant.
  ture of 145° C. and an extrusion rate of 1 m/min was used.            The x-ray visibility of the implant with barium sulphate in
  Extrusion lead to a co-axial fiber with a diameter of 2 mm and     the core was also tested in vivo in pig tissue. For this purpose
  a skin thickness of 60 µm. The fiber was cooled down to room 35 implants having barium sulphate in the core and implants
  temperature in a water bath, dried on air and wound on a reel.     without barium sulphate (Implanon) were inserted in hind
  The coaxial fiber was cut into 4.0 cm rods using a semi-           legs of pigs and subsequently X-ray photographs were taken.
  automatic cutter (Diosynth or equivalent).                         FIG. 2 demonstrates that the barium sulphate containing
                                                                     implant (sample 7) is clearly visible while the Implanon
                            Example 2                             40 implant is not (sample 8).

        Preparation of Two Layered Implant Containing                                          Example 4
                  Barium Sulphate in the Skin
                                                                         Hormone Release Profile of Implant Containing
     Preparation of two layered implant containing barium sul- 45        Barium Sulphate in the Core in Comparison to
  phate in the skin consisted of three steps, i.e. manufacturing      Hormone Release Profile of Commercially Available
  of core granulate (pre-mixing and blend extrusion) contain-                                 Implanon
  ing a mixture of etonogestrel (3-keto desogestrel) and EVA-
  28 copolymer, manufacturing of skin granulate (pre-mixing          In-vitro release rate profiles of the implants were tested by
  and blend extrusion) containing a mixture of Barium sulphate 50 two methods. An accelerated release rate method was per-
  and EVA-14 copolymer, and manufacturing of a co-axial fiber     formed by testing the implant in an ethanol/water (90/10)
  consisting of the core and a skin layer.                        solution. For the real time release rate method the in-vitro
     The core material (e.g 60 wt % etonogestrel and 40 wt %      release profile was tested in water. For both tests the release
  EVA-28) and skin material (e.g. 20 wt% barium sulphate and      profile of an implant containing barium sulphate in the core
  80wt% EVA-14) were prepared by adding the desiredingre- 55 was compared to the profile of Implanon without barium
  dients to a stainless steel drum after which the powder mix-    sulphate.
  tures were premixed by rotating the drum on a rhiinrad, or         Implants were manufactured loaded with 8, 11.5 and 15 wt
  equivalent, at 47 rpm.                                          % barium sulphate in the core. The resulting accelerated
     The core powder mixture was subsequently fed to a Ber-       release profiles are shown in FIG. 3 which demonstrates that
  storff ZE25 co-rotating twin screw extruder (or equivalent) 60 all release profiles are similar and that within the tested range
  and blend extruded at an extrusion temperature of 125° C.       ofbarium sulphate content of the core (0-15 wt%) the radio-
  Blend extrusion resulted in strands in which etonogestrel       opaque component does not influence the release of hor-
  (3-keto desogestrel) was homogeneously dispersed in the         mones from the device. The same conclusion can be drawn
  EVA-28 matrix. The strands were subsequently granulated to      from the real time release profiles up to 190 days (FIG. 4), i.e.
  core granulate. Essentially the same process, except for a 65 within the tested range of barium sulphate content of the core
  higher extrusion temperature of 150° C., was executed for the   (0-15 wt % ) the radio-opaque component does not influence
  skin powder mixture resulting in strands in which barium        the release of hormones from the device.
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     These conclusions were substantiated by calculating Fl                   solution. For the real time release rate method the in-vitro
  values. The Fl values were calculated for both accelerated                  release profile was tested in water. For both tests the release
  release rate profiles (up to and including 18 days) as real time            profile of implants containing titanium wire in the core was
  release rate profiles (up to and including 190 days) taking the             compared to the profiles of Implanon without titanium wire.
  Implanon release profiles as reference. The results are given             5 The resulting accelerated release profiles are shown in FIG. 7
  in Table 1. Fl values up to 15 (0-1 5) provide assurance of the             which demonstrates that all release profiles are comparable to
  sameness or equivalence of the two curves.                                  the Implanon reference implant and that within the tested
                                                                              range of titanium wire diameters (0.25-0.50 mm) the influ-
                               TABLE 1                                        ence on the release of hormones from the device by the
                                                                           10 radio-opaque component is acceptable.
       Fl values for Implants loaded with 8, 11.5 and 15 wt% barium              The same conclusions can be drawn form the real time
                            sulphate in the core                              release profiles up to 118 days (FIG. 8), i.e. that all release
    barium sulphate (wt % )    Accelerated release     Real time release      profiles are comparable to the Implanon reference implant
                                                                              and that within the tested range of titanium wire diameters
              8                         3.3                   9.8          15 (0.25 -0.50 mm) the influence on the release of hormones
             11.5                       2.4                   9.7
             15                         2. 1                  8.7
                                                                              from the device by the radio-opaque component is accept-
                                                                              able.
                                                                                 These conclusions were substantiated by calculating Fl
                                                                              values. The Fl values were calculated for both accelerated
                              Example 5                                    20 release rate profiles (up to and including 18 days) as real time
                                                                              release rate profiles (up to and including 118 days) talking the
        Preparation of an Implant Containing a Titanium                       Implanon release profiles as reference. The results are given
                        Wire in the Core                                      in Table 2. Fl values up to 15 (0-15) provided assurance of the
                                                                              sameness or equivalence of the two curves.
     To prepare implants in which the core contains an inert 25
  titanium wire, Implanon rods with a diameter of 2 mm were                                                  TABLE2
  adapted such that a titanium wire could be inserted. This was
                                                                                  Fl values for Implants loaded with 0.25 and 0.50 mm titanium wires
  done by carefully drilling a canal in the implants in longitu-
  dinal direction. Spiral drills (Guhring Spiralbohre, Germany)                   Tita11ium wire (mm)       Accelerated release     Real time release
  with a diameter of either 0.40 or 0.60 mm were applied. A 30
  0.40 mm spiral drill was applied for the implants in which a                            0.25                        2.6                  8.1
                                                                                          0.50                        7.7                 10.8
  0.25 mm titanium wire was inserted, whereas a 0.60 mm drill
  was used for the implant in which a 0.50 mm titanium wire
  was inserted . After the canal was prepared, the titanium wire
  was carefully inserted taking in consideration that the wire 35                                           Example 8
  did not penetrate the skin layer. After insertion, the wire was
  cut at the rod end using a sharp cutter.                                            Migration of Barium Sulphate Particles Out of
                                                                                                Implant with Open Ends
                              Example 6
                                                                       To reveal the distribution of barium sulphate in the implant
                                                                           40
       Comparison ofX-Ray Visibility Between Implant                and to obtain an impression of the loss of barium sulphate
      Containing a Titanium Wire in the Core and Implant            particles upon leaching, cryogenic sections were made of
             without a Titanium Wire (Implanon)                     implants using a ultramicrotome. Subsequently the sections
                                                                    of the implants were analyzed using Scanning Electron
     X-ray photographs were taken from implants and subse- 45 Microscopy/Energy Dispersed Xspectroscopy (SEM/EDX)
  quently the X-ray visibility between implants having a tita-      before and after leaching. Leaching the implants leads to
  nium wire in the core was compared to implants without a          removal of the etonogestrel crystals from the implant. By
  titanium wire (Implanon). As demonstrated in FIG. 5, inser-       examining before and after leaching information is obtained
  tion of a titanium wire into the core greatly improved the        on the morphology of the barium sulphate/etonogestrel/EVA-
  X-ray visibility of the implant.                               50 28 mixture. A back scatter electron (BSE) detector was used
     The x-ray visibility of the titanium wire implant was also     for imaging. In the BSE image the presence of barium sul-
  tested in vivo in pig tissue. For this purpose implants having    phate particles is easily recognized by the high brightness of
  a titanium wire in the core and implants without a wire (Impl-    the barium sulphate particles.
  anon) were inserted in hind legs of pigs and subsequently            FIG. 9 reveals the morphology of an implant in which the
  X-ray photographs were taken. FIG. 6 demonstrates that the 55 core is loaded with about 11.5 wt % barium sulphate. It can be
  titanium wire containing implant (sample 4) is clearly visible    seen that the bright spots, representing barium sulphate, are
  while the Implanon implant is not (sample 3).                     mainly located in the EVA-28 material, i.e. the irregular
                                                                    shaped grey/black spots, representing etonogestrel crystals,
                             Example?                               contain no bright spots. FIG. 10 revea ls the same sample that
                                                                 60 was leached. The left part is the skin material while the right
         Hormone Release Profile oflmplant Containing               part shows the leached core. Dark holes are clearly visible.
        Titanium Wire in Core in Comparison to Hormone              The holes, representing the location at which etonogestrel
       Release Profile of Commercially Available Implanon           crystals were present before leaching, hardly contain any
                                                                    bright spots.
     In-vitro release rate profiles oflmplanon were determined 65      The content barium sulphate in several batches was also
  by two methods. An accelerated release rate method was            tested using incineration before and after leaching (18 days in
  performed by testing the implant in an ethanol/water (90/10)      ethanol/water (90/10)). This gives information on possible
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  migration of barium sulphate crystals out of the implant after                                         Example 10
  the etonogestrel crystals were leached out of the implant. The
  results (table 3) show that there is no major change in content                   Hormone Release Profile of Implant Containing
  of barium sulphate upon leaching. It can therefore be con-                        Barium Sulphate in the Core in Comparison to
  cluded that no or hardly any barium sulphate crystals                   5       Hormone Release Profile of Commercially Available
  migrated out of the implant through the open ends.                                       Implanon (No Barium Sulfate)
     Combining FIGS. 9 and 10 with the results in table 3 it can
  be concluded that hardly any radio-opaque component                               In-vitro release rate profiles of the implants were tested by
  (shown by the bright spots) was encapsulated by thehonnone 10 two methods. An accelerated release rate method was per-
  crystals and that most of the radio-opaque component was                       formed by testing the implant in an ethanol/water (90/10)
  encapsulated by the polymer EVA-28.                                            solution. For the real time release rate method the in-vitro
                                                                                 release profile was tested in water. For both tests the release
                                   TABLE 3                                       profile of an implant containing barium sulphate in the core
                                                                              15 was compared to the profile of Implanon without barium
        Remnant content BaSO4 of implants (average is given ru1d range           sulphate.
                       of 6 samples is given in brackets)
                                                                                    Implants were manufactured loaded with 4, 20 and 30 wt%
                                   untreated              Leached                barium sulphate in the core. The resulting accelerated release
                                   [mg BaSO4 /            (18 days EtOWH2 O)     profiles are shown in FIG. 13 which demonstrates that all
  Batch                            implant]               [mg BaSOJimplant]
                                                                              20 release profiles are similar and that within the tested range of
  Core with 11.5 wt% BaSO4         14.7 (14. 5-14.8)      14.9 (14.7-15. 1)      barium sulphate content of the core (0-30 wt %) the radio-
  Core with 8 wt % BaSO4           10.3 (1 0.2- 10.4)      9.5 (9 .4-9 .6)       opaque component does not influence the release of hor-
  Core with 15 wt % BaSO4          19.7 (1 9.4-20. 1)     19.5 (1 9.4- 19.6)     mones from the device. The same conclusion can be drawn
                                                                                 from the real time release profiles up to 76 days (FIG. 14), i.e.
                                                                              25 within the tested range of barium sulphate content of the core
                                                                                 (0-30 wt %) the radio-opaque component does not influence
                                  Example 9                                      the release of hormones from the device.
                                                                                    These conclusions were substantiated by calculating Fl
                                                                                 values. The Fl values were calculated for both accelerated
        Comparison of X-Ray Vi sibility Between Implant
                                                                              30 release rate profiles (up to and including 18 days) as real time
           Containing Barium Sulpha te in the Core, and                          release rate profiles (up to and including 76 days) taking the 0
           Implant without Barium Sulphate (Implanon)                            wt % implant release profiles as reference. The results are
                                                                                 given in Table 5. F 1 values up to 15 (0-15) provide assurance
     X-ray photographs (at 26 KW and 0.6 mAs) were taken                         of the sameness or equivalence of the two curves.
  from implants and subsequently the X-ray visibility between 35
  implants having barium sulphate in the core versus x-ray                                                       TABLE S
  visibility of implants without barium sulphate (Implanon)
                                                                                        Fl values for Imp lants loaded with 4, 20 and 30 wt % barium
  were compared FIG. 11 demonstrates that incorporation of                                                   sulphate in the core
  barium sulphate into the core greatly improved the X-ray
  visibility of the implant. The implant with only 4 wt% barium 40                       Barium sulphate             Accelerated           Real time
  sulphate content in the core (sample 4) is clearly visible while                            [wt %]                   release              release
  the Implanon (sample 1) implant without the barium sulphate                                    4                        4.2                 2. 9
  is not.                                                                                       20                        5.8                 6. 9
                                                                                                30                        6.8                 7.5
     The measured transmission of X-ray is a quantitative value
  for the X-ray visibility of the implants. The number repre- 45
  sents the X-ray exposure (pixels per area) of a X-ray camera
  (transmission X-rays). Table 4 and FIG. 12 show that the                                                      Example 11
  amount of X-ray transmission of the implant with a low
  barium sulphate content in the core of 4 wt % (sample 4) is                           Migration of Barium Sulphate Particles Out of
  significantly different from the implant without BaSO4 50                                            Implant with Open Ends
  (sample 1).
                                                                                    To revea l the distri bution of barium sulphate in the implant
                                   TABLE 4                                       and to obtain an impression of the loss of barium sulphate
                                                                                 particles upon leaching, cryogenic sections were made of
              X-ray visibility of implant with and without BaSO 4             55 implants using a ultramicrotome. Subsequently the sections
                                                                                 of the implants were analyzed using Scarming Electron
                                                       Transmission
                             BaS04                       of X-ray                Microscopy/Energy Dispersed Xspectroscopy (SEM/EDX)
          Srunple           content                    [pixels/area]             before and after leaching. Leaching the implants leads to
                                                                                 removal of the etonogestrel crystals from the implant. By
            no.             [wt.%]             Mean [n - 4]               SD  60 examining before and after leaching information is obtained
                               0                    1588                  21     on the morphology of the barium sulphate/etonogestrel/EVA-
             2                11.5                    736                 28     28 blend. A back scatter electron (BSE) detector was used for
             3                11.5                    729                 29     imaging. In the BSE image the presence of barium sulphate
             4                 4                    1140                  29
             5                20                     486                  24
                                                                                 particles is easily recognized by the high brightness of the
             6                30                      292                  17 65 barium sulphate particles.
                                                                                    FIG. 15 reveals the morphology of implants in which the
                                                                                 core is loaded with about 4, 20 and 30 wt % barium sulphate.
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  It can be seen that the bright spots, representing barium sul-           a vinylacetate content of about 28%, wherein the percent
  phate, are mainly located in the EVA-28 material, i.e. the               weight of the ethylene-vinylacetate copolymer is equal to or
  irregular shaped grey/black spots, representing etonogestrel             less than the percent weight of the desogestrel or 3-ke-
  crystals, contain no bright spots. FIG. 16 reveals the same              todesogestrel, and (c) about 4-30% by weight of a radio-
  samples that were leached. The blank part is the skin material 5 opaque material, wherein substantially all the radio-opaque
  while the part containing the bright spots shows the leached             material is encapsulated in the ethylene-vinylacetate copoly-
  core. Dark holes are clearly visible. The holes, representing            mer; and (ii) a non-medicated ethylene-vinylacetate copoly-
  the location at which etonogestrel crystals were present                 mer skin having a vinylacetate content of about 14%, cover-
  before leaching, hardly contain any bright spots.                        ing the core.
      The content barium sulphate in several batches was also 10              9. The implant of claim 8, wherein the radio-opaque mate-
  tested using incineration before and after leaching (18 days in          rial is barium sulphate.
  ethanol/water (90/10)). This gives information on possible                  10. The implant of claim 9, wherein the barium sulphate is
  migration of barium sulphate crystals out of the implant after           about 8-15% by weight.
  the etonogestrel crystals were leached out of the implant. The              11. The implant of claim 8, wherein the rod has open ends.
  results (table 6) show that there is no major change in content 15          12. The implant of claim 8, wherein the implant has a
  of barium sulphate upon leaching. It can therefore be con-               length of 40 mm and a diameter of 2 mm.
  cluded that no or hardly any barium sulphate crystals                       13. The implant of claim 8, wherein the amount of 3-ke-
  migrated out of the implant through the open ends.                       todesogestrel is 68 mg.
      By combining FIGS. 15 and 16 with the results in Table 6                14. A kit comprising:
  it can be concluded that hardly any radio-opaque component 20               a) the drug delivery device according to claim 4; and
  (shown by the bright spots) was encapsulated by the hormone                 b) an acrylonitrile-butadiene-styrene polymer applicator
  crystals and that most of the radio-opaque component was                       for inserting the implant.
  encapsulated by the polymer EVA-28.                                         15. A kit comprising:
                                                                              a) the implant according to claim 9; and
                                 TABLE6                                 25    b) an acrylonitrile-butadiene-styrene polymer applicator
                                                                                 for inserting the implant.
             Remnant content BaSO4 of implants (average is given              16. An implant having a length of 40 mm and a diameter of
                 and range of 6 samples is given in brackets)
                                                                           2 mm consisting of a coaxial rod, the rod comprising (i) a core
                              Untreated              Leached               comprising (a) 68 mg of crystalline 3-ketodesogestrel; (b) an
                              [mgBaSO,I              (18 days EtOH/H2O) 30 ethylene-vinylacetate copolymer having a vinylacetate con-
  Batch                       implant]               [mg BaSO,fimplant]    tent of about 28%, wherein the percent weight of the ethyl-
  Core with 4 wt% BaSO4        5.0 (4.9-5.1 )         5.6 (5 .5-5.6)       ene-vinylacetate copolymer is equal to or less than the percent
  Core with 20 wt% BaSO4      26.2 (26. 0-26.3)      26.8 (26.6-26.9)      weight of the 3-ketodesogestrel; and (c) about 8-15% by
  Core with 30 wt% BaSO4      45.6 (45.4-45.8)       45.2 (45.1-45.4)      weight of barium sulphate, wherein substantially all the
                                                                        35 radio-opaque material is encapsulated in the ethylene-viny-

      The invention claimed is:                                            lacetate copolymer; and (ii) a non-medicated ethylene-viny-
      1. A drug delivery device for subdennal administration of            lacetate copolymer skin having a vinylacetate content of
  a contraceptive or hormone replacement therapy comprising                about 14% covering the core.
  (i) a core comprising (a) crystalline desogestrel or 3-ke-                  17. The implant of claim 16, wherein the rod has open ends.
  todesogestrel ; (b) a thermoplastic polymer, wherein the per- 40            18.A kit comprising (a) the implant according to claim 16,
  cent weight of the thermoplastic polymer in the core is equal            and  (b) an acrylonitrile-butadiene-styrene polymer applicator
  to or less than the percent weight of the desogestrel or 3-ke-           consisting of a body, a plunger, a stainless steel needle and a
  todesogestrel ; and (c) about 4-300/o by weight of a radio-              polypropylene shield.
  opaque material, wherein substantially all the radio-opaque                 19. A drug delivery device for subdermal administration of
                                                                        45 a contraceptive or hormone replacement therapy comprising
  material is encapsulated in the thermoplastic polymer and not
  in the crystalline desogestrel or 3-ketodesogestrel; and (ii) a          (i) a core comprising (a) crystalline desogestrel or 3-ke-
  non-medicated thermoplastic polymer skin covering the core.              todesogestrel;  (b) less than 50% by weight of a thermoplastic
      2. The drug delivery device according to claim 1, wherein            polymer; and (c) about 4-30% by weight radio-opaque mate-
  the radio-opaque material is about 6-20% by weight.                      rial and substantially all the radio-opaque material is encap-
      3. The drug delivery device according to claim 1, wherein 50 sulated in the thermoplastic polymer and (ii) a non-medicated
  the radio-opaque material is about 8-15% by weight.                      thermoplastic polymer skin covering the core.
                                                                              20. The drug delivery device according to claim 19,
      4. The drug delivery device according to claim 1, wherein
  the radio-opaque material is barium sulphate.                            wherein the radio-opaque material is about 6-20% by weight.
                                                                              21. The drug delivery device according to claim 19,
      5. The drug delivery device according to claim 1, wherein
                                                                        55 wherein the radio-opaque material is about 8-15% by weight.
  the device is an implant.
      6. The drug delivery device according to claim 1, wherein
                                                                              22. The drug delivery device according to claim 19,
  the thermoplastic polymer in the core is ethylene-vinylacetate           wherein the radio-opaque material is barium sulphate.
                                                                              23. The drug delivery device according to claim 19,
  copolymer.
      7. The drug delivery device of claim 4, wherein the barium
                                                                           wherein the device is an implant.
  sulphate is about 8-15% by weight.                                    60    24. The drug delivery device according to claim 19,
      8. An implant consisting of a coaxial rod, the rod contain-
                                                                           wherein the thermoplastic polymer in the core is ethylene-
  ing (i) a core comprising (a) crystalline desogestrel or 3-ke-           vinylacetate copolymer.
  todesogestrel, (b) an ethylene-vinylacetate copolymer having                                  *   *   *    *   *
    Case 2:25-cv-02254-CCC-LDW                      Document 1-1            Filed 04/02/25              Page 26 of 26 PageID:
                                                            45
                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                    CERTIFICATE OF CORRECTION
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DATED                       : May 13, 2014
INVENTOR(S)                 : Veenstra et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         On the Title Page:

         The first or sole Notice should read --

         Subject to any disclaimer, the term of this patent is extended or adjusted under 35 U.S.C. 154(b)
         by 928 days.




                                                                                   Signed and Sealed this
                                                                             Eighteenth Day ofNovember, 2014



                                                                                                   Michelle K. Lee
                                                                           Deputy Director of the United States Patent and Trademark Office
